Case 2:05-cV-02010-.]P|\/|-de Document 7 Filed 08/30/05 Page 1 of 2 Page|D 10

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§§ Gz* \'ir.reiPHiS
KEVIN MILLEN, J'UDGMENT IN A CIVIL SE
Plaintiff,
vi
\J'U'VENILE COURT, et al . , CASE NO: 05-2010 Ml/V
Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action having come before the Court for
consideration, the issues having been Considered, and a decision
rendered,

IT IS THEREFORE ORDERED, .ADJUDGED, AN'.D DECREED hat, in accordance
with the Order of Dismissal, entered August , 2005, this case
is DISMISSED.

APPROVED:
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JON P. MCCALLA
UN ED STATES DISTRICT COURT

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Date Clerk of Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-020]0 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Kevin Millen
4104 Stillwood Dr.
Memphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

